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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 JOHN DOE,                                         )
                                                   )
                              Plaintiff,           )
                                                   )
                         v.                        )    No. 1:20-cv-00123-JRS-DML
                                                   )
 INDIANA UNIVERSITY, et al.                        )
                                                   )
                              Defendants.          )

                     Order Setting Scheduling Conference
       This case is set for a telephone scheduling conference on January 15, 2020,

 at 2:30 p.m. (Eastern), before Magistrate Judge Debra McVicker Lynch. The

 purpose of the conference is to discuss a schedule regarding the motion for

 temporary restraining order (Dkt. 1). The court will contact counsel by separate

 email through the court’s electronic filing system with the call-in information to be

 used to participate in the conference.

       So ORDERED.

       Date: 1/14/2020                      ____________________________________
                                               Debra McVicker Lynch
                                               United States Magistrate Judge
                                               Southern District of Indiana




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